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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                  Respondent/Plaintiff,

Vs.                                             No. 04-40001-02-SAC
                                                     06-3228-SAC

FELIPE BEDOLLA-IZAZAGA,

                  Movant/Defendant.


                       MEMORANDUM AND ORDER

            This case comes before the court on defendant’s motion for

relief pursuant to 28 U.S.C. § 2255.

Background

            Following a jury trial, the defendant was convicted of eight

drug-related offenses, namely: (1) conspiracy to distribute more than 500

grams of methamphetamine from about July 16, 2003, to about January 8,

2004; (2) using a communication facility on December 4, 2003, to commit

Count One; (3) using a communication facility on December 12, 2003, to

commit Count One; (4) distribution of 225 grams of methamphetamine

mixture on December 12, 2003; (5) distribution of 109 grams of actual

methamphetamine on December 23, 2003; (6) using a communication

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facility on January 5, 2004, to commit Count One; (7) possession with

intent to distribute 1.5 kilograms of methamphetamine mixture on January

8, 2004; and (8) managing or controlling a residence, 10782 Kettle Way,

Dodge City, Kansas for using, storing, and distributing a controlled

substance. Dk. 34.

               Defendant was sentenced to a term of 360 months of

imprisonment and five years’ supervised release on all counts. Defendant

filed no appeal of his conviction, but has timely filed this motion for relief

pursuant to 28 U.S.C. § 2255, raising three claims of error: 1) that he “was

illegally arrested during execution of the search warrant on Mr. Verduzco’s

(codefendant) residence,” and that “[i]nformation and evidence obtained

through this tainted arrest was used in the conviction of the defendant”; 2)

that his convictions were “obtained by utilization of an ‘unlawful’ recorded

phone call of the defendant in which he made self-incriminating statements

to another individual in confidence,” which he characterizes as violations of

his Fifth Amendment privilege against self incrimination and the Federal

Wiretap Act; and 3) that his counsel was ineffective in that he “did an

inadequate job in providing legal representation, poor client-attorney

communications, poor and improper investigative techniques . . . and failed


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to defend the rights of the Defendant in this matter.” (Dk. 346, at 4-5,7).

Governing Standards for § 2255 Relief

            Defendant did not raise any of the current issues at trial or on

direct appeal, and does not attempt to establish his actual innocence.

Therefore, before it can reach the merits of defendant’s claims, this court

must first determine whether the defendant can demonstrate sufficient

grounds to overcome the procedural bar against consideration of defaulted

claims. See United States v. Frady, 456 U.S. 152, 165 (1982). “A

defendant is procedurally barred from presenting any claim in a section

2255 petition that he failed to raise on direct appeal unless he can

demonstrate cause for his procedural default and prejudice suffered

thereby, or that the failure to hear his claim would result in a fundamental

miscarriage of justice.” United States v. Wright, 43 F.3d 491, 496 (10th Cir.

1994). Only if the defendant can show both cause for the default and that

failure to consider the claim would result in actual prejudice to his defense,

may the court reach the merits of his otherwise defaulted claims. See

United States v. Harms, 371 F.3d 1208, 1211 (10th Cir. 2004).

            “A meritorious claim of ineffective assistance of counsel

constitutes cause and prejudice for purposes of surmounting the

procedural bar. United States v. Horey, 333 F.3d 1185, 1187 (10th Cir.
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2003).” Harms, 371 F.3d at 1211. Consequently, if the defendant can

demonstrate that he received ineffective assistance of counsel, he will have

established the requisite cause and prejudice to overcome application of

the procedural bar.

Legal Standards for Ineffective Assistance of Counsel

            The essence of an ineffective-assistance claim is that

“counsel's unprofessional errors so upset the adversarial balance between

defense and prosecution that the trial was rendered unfair and the verdict

rendered suspect.” Williamson v. Ward, 110 F.3d 1508, 1513-14 (10th Cir.

1997) (quoting Kimmelman v. Morrison, 477 U.S. 365, 374 (1986)). To

prevail on a claim of ineffective assistance of counsel, the defendant must

prove “that his ‘counsel's representation fell below an objective standard of

reasonableness,’ Strickland v. Washington, 466 U.S. 668, 688 (1984),” and

“ ‘that there is a reasonable probability that, but for counsel's

unprofessional errors, the result of the proceeding would have been

different,’ id. at 694.” United States v. Taylor, 454 F.3d 1075, 1079 (10th

Cir. 2005). “[T]here is no reason for a court deciding an ineffective

assistance claim ... to address both components of the inquiry if the

defendant makes an insufficient showing on one.” Strickland v.

Washington, 466 U.S. at 697.
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            With regard to the objective reasonableness of counsel’s

representation, “ ‘[t]he Supreme Court has recognized that because

representation is an art and not a science, even the best criminal defense

attorneys would not defend a particular client in the same way.’ “ Fields v.

Gibson, 277 F.3d 1203, 1217 (10th Cir.) (quoting Waters v. Thomas, 46

F.3d 1506, 1522 (11th Cir.1995) (en banc) (alterations, quotation marks,

and citations omitted), cert. denied, 516 U.S. 856 (1995)), cert. denied, 537

U.S. 1023 (2002). To be constitutionally deficient, defense counsel's

performance must be “completely unreasonable.” Id.; see Boyd v. Ward,

179 F.3d 904, 914 (10th Cir.1999), cert. denied, 528 U.S. 1167 (2000).

Thus, a defendant may prove this prong by showing a counsel's conduct

was not “within the wide range of competence demanded of attorneys in

criminal cases.” United States v. Blackwell, 127 F.3d 947, 955 (10th Cir.

1997) (quotation and citations omitted). A court's review of the attorney's

performance must be highly deferential. Strickland, 466 U.S. at 689. In its

evaluation of such claims, a court “must indulge a strong presumption that

counsel's conduct falls within the wide range of reasonable professional

assistance; that is, the defendant must overcome the presumption that,

under the circumstances, the challenged action might be considered sound

trial strategy.” Strickland, 466 U.S. at 689; see United States v. Holder,

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410 F.3d 651, 654 (10th Cir. 2005).

            The second determination is whether counsel's constitutionally

ineffective performance affected the outcome of the trial. To prove this

prejudice requirement, the defendant “must show that, but for counsel's

errors, there is a reasonable probability that the result of the proceeding

would have been different.” Boyd v. Ward, 179 F.3d 904, 914 (10th Cir.

1999). When the allegation is ineffective assistance at trial, a court must

“determine whether there is a reasonable probability the jury would have

had reasonable doubt regarding guilt.” Id. (citations omitted). “The

prejudice defendant must demonstrate is by less than a preponderance of

the evidence: a defendant need not show that counsel's deficient conduct

more likely than not altered the outcome of trial.” Snow v. Sirmons, 474

F.3d 693, 719-720 (10th Cir. 2007) (quoting Fisher v. Gibson, 282 F.3d

1283, 1307 (10th Cir. 2002)). The court looks at the totality of the evidence

in assessing prejudice. Boyd, 179 F.3d at 914. The court views

defendant’s allegations in light of the standards above.

Illegal arrest

            Defendant first claims that he was illegally arrested during

execution of the search warrant on co-defendant Verduzco’s residence and

that information and evidence obtained through that tainted arrest was
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used in his conviction. No other information is provided by defendant in

support of this claim which would specify why he believes his arrest was

illegal or what information or evidence from the arrest he believes was

improperly used at trial. The government responds that defendant’s arrest

was unrelated to the search of Verduzco’s residence, thus the entire factual

premise of this claim is groundless.

            The court liberally construes this claim to be that defendant’s

counsel was ineffective for failing to raise the issue of defendant’s illegal

arrest. The record shows the following facts relative to defendant’s arrest.

On January 5, 2004, Rene Granado telephoned defendant and arranged

for the defendant to come to Granado’s residence in Emporia, Kansas to

receive $5500 as payment for drugs Granado had previously purchased

from the defendant. (Trial Trans. at 774-777.) As agreed, the defendant

arrived at Granado’s residence, where an undercover agent watched

confidential informant Granado hand the defendant the money. (Id. at

782-783.) Defendant took the payment. Shortly thereafter, defendant left

the residence with the money, returned to his vehicle where he counted the

money, then drove away. (Id. at 783-785.)

            Emporia Police Department Sergeant Ed Owens conducted

surveillance of Granado’s residence during the delivery of the buy money.

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(Id. at 835-37.) He saw defendant drive away from Granado’s residence in

a Hyundai Sonata with a passenger. (Id. at 838-839.) Shortly after the

vehicle left, Owens stopped the vehicle just up the street from Granado’s

residence and arrested the defendant. (Id. at 839, 843.)

           Later that day, after defendant was arrested, Sergeant Owens

and others participated in the execution of a search warrant at the

residence of Eloy Rosas. (Id. at 843.) That same day, officers also

executed a search warrant at the residence of Verduzco.

           The record fails to show that the search of Verduzco’s

residence had any connection whatsoever to defendant’s arrest.

Defendant’s arrest was based on information provided by Granados and

the drug transaction witnessed by the undercover agent. Accordingly, had

defendant’s counsel timely raised this argument, the court would have

rejected it on the merits. Because neither cause nor prejudice has been

shown, this claim is procedurally barred.

Recording of telephone calls

           Defendant next contends that his conviction was obtained by

use of unlawful recorded telephone calls in which he made incriminating

statements. Defendant asserts that his statements were made in

confidence and that no wiretap order was issued. Liberally construed, this
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claim alleges that defendant’s counsel was ineffective for failing to raise

this issue at trial.

             Although defendant does not specify which telephone calls he

contends were illegal, telephone calls served as the basis for defendant’s

convictions on Counts Two, Three, and Six. Each of these calls, made on

December 4, 2004, December 12, 2003, and January 5, 2004, was to

defendant from Rene Granados, who, unbeknownst to defendant, was

cooperating with the government. The court assumes these calls are the

subject of defendant’s claims of illegal recording.

             Defendant is correct that no wiretap order was requested or

granted for any of these calls. None was necessary, however, due to the

“consent” exception in the Federal Wiretap Act, which provides:

      It shall not be unlawful under this chapter for a person acting under
      color of law to intercept a wire, oral, or electronic communication,
      where such person is a party to the communication or one of the
      parties to the communication has given prior consent to such
      interception.

18 USC § 2511(2)(c). Thus “law enforcement personnel may lawfully

monitor or record conversations with the consent of one of the parties to

the conversation.” United States v. Davis, 1 F.3d 1014, 1016 (10th Cir.

1993). Neither the Fourth Amendment nor the wiretap statute is violated

when the government records a defendant’s conversation with another

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party, pursuant to that party’s consent. United States v. McKneely, 69 F.3d

1067, 1073 (10th Cir. 1995). See United States v. Longoria, 177 F.3d

1179, 1182-82 (10th Cir. 1999). “A criminal might have a strong

expectation that his longtime confidant will not allow the government to

listen to their private conversations, but however profound his shock might

be upon betrayal, government monitoring with the confidant's consent is

reasonable under the Fourth Amendment. See United States v. White, 401

U.S. 745, 752, 91 S. Ct. 1122, 28 L. Ed. 2d 453 (1971).” Georgia v.

Randolph, 547 U.S. 103,126 S. Ct. 1515, 1532 (2006). This rule is based

on privacy: “Inescapably, one contemplating illegal activities must realize

and risk that his companions may be reporting to the police .... [I]f he has

no doubts, or allays them, or risks what doubt he has, the risk is his.”

Georgia v. Randolph,126 S. Ct. at 1533, quoting White, 401 U.S., at 752.

Here, it is undisputed that Rene Granados, a party to each of the

challenged communications, gave prior consent to the interception.

Accordingly, no violation of the Federal Wiretap Act has been shown.

            Defendant additionally contends that the use of recorded calls

violated his Fifth Amendment privilege against self-incrimination. The

Self-Incrimination Clause of the Fifth Amendment states: “No person ...

shall be compelled in any criminal case to be a witness against himself.”

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U.S. Const. amend. V. The Supreme Court has explained that this

privilege protects a person only against being incriminated by his own

compelled testimonial communications. See Doe v. United States, 487

U.S. 201, 207 (1988) (citations omitted.)

            Generally, self-incrimination is considered to be “compelled”

either when a person is legally required to testify, such as in response to a

subpoena or a court order, or during a “custodial interrogation,” where the

compulsion arises from a custodial environment. See United States v.

Hunerlach,197 F.3d 1059, 1066 (11th Cir. 1999). The fifth amendment

“does not independently proscribe the compelled production of every sort

of incriminating evidence but applies only when the accused is compelled

to make a testimonial communication that is incriminating.” United States

v. McCurdy, 40 F.3d 1111, 1115 (10th Cir. 1994) quoting Fisher v. United

States, 425 U.S. 391, 408 (1976). The Fifth Amendment “does not prohibit

the use of evidence that a defendant voluntarily turns over to the

government. ‘Voluntary statements of any kind are not barred by the Fifth

Amendment ....’ “ United States v. Codner, 2000 WL 373791, *5 (10th Cir.

2000), quoting Miranda v. Arizona, 384 U.S. 436, 478 (1966). Thus,“where

a defendant's conversations with an informant are voluntary and the

informant's presence was wholly voluntary, admissions made by the

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defendant do not violate the fifth amendment privilege against compulsory

self-incrimination. Hoffa v. United States, supra, 385 U.S. at 303-04, 87 S.

Ct. at 414.” United States v. Davis, 646 F.2d 1298, 1302 (8th Cir. 1981);

cf, In re Grand Jury Subpoenas,144 F.3d 653, 663 (10th Cir. 1998)(finding

compulsion of attorneys' testimony as to voluntary statements made by the

client does not implicate the Fifth Amendment's protection of the client

against compulsory self-incrimination.)

            In this case, no evidence suggests that defendant was subject

to a subpoena or a court order to testify at the time of the recorded

conversations, or that defendant was in “custody” when he was speaking to

Granados. Thus no evidence of legal or factual compulsion exists in this

case. Because defendant disclosed the incriminating information to Rene

Granados voluntarily, no Fifth Amendment violation can be shown.

            The court finds no merit to defendant’s claims that the

recording of his conversations violated either the Federal Wiretap Act or

the Fifth Amendment. Accordingly, had defendant’s counsel timely raised

these arguments, the court would have rejected them on their merits.

Because neither cause nor prejudice has been shown, these claims are

procedurally barred.

General ineffectiveness
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            Defendant’s final claim is that his counsel provided inadequate

legal representation, demonstrated poor client-attorney communications,

used poor and improper investigative techniques, and failed to defend

defendant’s rights. No specifics regarding counsel’s allegedly deficient

performance are included in defendant’s motion or in any

contemporaneously filed memoranda. See United States v. Guerrero, __

F.3d __ (10th Cir. June 14, 2007).

            The court is left with defendant’s conclusory assertions stated

above. A court "may not rewrite a petition to include claims that were never

presented." Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999). “To

surmount the strong presumption of reasonable professional assistance, a

criminal defendant bears the burden of proving, by a preponderance of the

evidence, that his trial counsel acted unreasonably.” Salahdin v. Mullin, 380

F.3d 1242, 1248 (10th Cir. 2004). Defendant’s vague and general

challenge to counsel’s actions and inactions is insufficient to meet his

burden to overcome the presumption of reasonable professional

assistance. See Strickland, 466 U.S. at 689. The court cannot "reasonably

read the pleadings to state a valid claim on which the petitioner could

prevail.” Barnett,174 F.3d at 1133.

            The court additionally notes that defendant’s counsel is no

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stranger to this court and is an experienced criminal defense attorney.

Nothing in the court’s review of the record in this case or in the court’s

recollection of events at defendant’s trial gives the court any reason to

believe that counsel’s representation of defendant was constitutionally

ineffective.

Other issues

               Defendant has raised additional issues in his reply brief which

were not included in defendant’s § 2255 motion and were not previously

briefed by the government. See Dk. 363. A court in a § 2255 proceeding

does not consider arguments presented for the first time in a reply brief.

See United States v. Mora, 293 F.3d 1213, 1216 (10th Cir.2002) (citing

Codner v. United States, 17 F.3d 1331, 1332 n. 2 (10th Cir. 1994)), cert.

denied, 123 S. Ct. 388 (U.S. Oct. 15, 2002). In pursuit of fairness and

proper notice to the government, the court declines to address these

issues.

               IT IS THEREFORE ORDERED that defendant’s motion for

relief pursuant to 28 U.S.C. § 2255 (Dk. 346) is denied.

               Dated this 28th day of June, 2007, Topeka, Kansas.

                                s/ Sam A. Crow
                                Sam A. Crow, U.S. District Senior Judge


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